          Case 1:23-cv-07875-DLC Document 40 Filed 12/01/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 MIND MEDICINE (MINDMED) INC.,

                        Plaintiff,
                                                                Case No. 1:23-cv-07875 (DLC)
        v.

 SCOTT FREEMAN, JAKE FREEMAN, CHAD                              NOTICE OF MOTION TO
 BOULANGER, FARZIN FARZANEH, VIVEK                              DISMISS
 JAIN, ALEXANDER WODKA, and FCM MM
 HOLDINGS, LLC,

                        Defendants.


       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law, by and

through their undersigned attorneys, Defendants in the above captioned action will move this

Court, before the Honorable Denise L. Cote, Judge of the United States District Court for the

Southern District of New York, at the Daniel Patrick Moynihan United States District

Courthouse, located at 500 Pearl Street, New York, New York 10007, for an order dismissing the

First Amended Complaint (ECF No. 27), pursuant to Federal Rules of Civil Procedure 12(b)(1)

and 12(b)(6) and for such other further relief as the Court finds just or proper.

 Dated: New York, New York                         GLENN AGRE BERGMAN & FUENTES LLP
        December 1, 2023
                                                   By:     /s/ L. Reid Skibell
                                                         L. Reid Skibell
                                                         George L. Santiago
                                                         Jason Rotstein

                                                   1185 Avenue of the Americas, 22nd Floor
                                                   New York, New York 10036
                                                   T: 212-970-1600
                                                   rskibell@glennagre.com
                                                   gsantiago@glennagre.com
                                                   jrotstein@glennagre.com

                                                   Attorneys for Defendants
